    Case 5:03-cr-00024-DCB   Document 252   Filed 02/19/08   Page 1 of 3



                   UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF MISSISSIPPI,
                         WESTERN DIVISION


UNITED STATES OF AMERICA


VERSUS                          CRIMINAL ACTION NO. 5:03cr24(01)-DCB


REGINALD ODOM                                                     DEFENDANT


                                 ORDER

     This matter comes before the Court on the defendant’s Motion

for Excusable Neglect [docket entry no. 240].          Having considered

the Motion, applicable statutory and case law, and being otherwise

fully advised in the premises, the Court finds and orders as

follows:

     On August 22, 2007, the Court’s Order of Forfeiture & Nunc Pro

Tunc Amendments [docket entry no. 235] was entered in this cause.

On November 1, 2007, the defendant Reginald Odom simultaneously

filed a Notice of Appeal [docket entry no. 239] and Motion for

Excusable Neglect [docket entry no. 240].           The defendant seeks

appellate review of the Court’s August 22, 2007, Order through his

Notice of Appeal, and requests that the Court extend the time for

the filing of his Notice of Appeal in his Motion for Excusable

Neglect.

     Federal Rule of Appellate Procedure 4(b)(1)(A) provides that

“[i]n a criminal case, a defendant’s notice of appeal must be filed

in the district court within 10 days after the later of: (i) the
    Case 5:03-cr-00024-DCB   Document 252   Filed 02/19/08   Page 2 of 3



entry of either the judgment or the order being appealed; or (ii)

the filing of the government’s notice of appeal.”            In this case,

the government has not filed a notice of appeal, and the defendant

did not file a notice of appeal within ten days of the Court’s

August 22, 2007, Order he is seeking to challenge.           Therefore, the

defendant’s November 1, 2007, Notice of Appeal is untimely.

     However, Federal Rule of Appellate Procedure 4(b)(4) permits

a district court, upon a finding of excusable neglect or good

cause, to “extend the time to file a notice of appeal for a period

not to exceed 30 days from the expiration of the time otherwise

prescribed by this Rule 4(b).”       The period for the defendant’s

filing of a notice of appeal expired on September 6, 2007 — ten

days after the entry of the Court’s August 22, 2007, Order which he

wishes to appeal; therefore, assuming that the defendant could show

excusable neglect or good cause, under Rule 4(b)(4) the Court could

only extend the time to file his Notice of Appeal to October 6,

2007. Because the defendant’s Motion and Notice of Appeal were not

filed until November 1, 2007, the Court is now powerless to grant

the defendant an extension of time so that he may timely file his

Notice of Appeal.

     Accordingly,

     IT IS HEREBY ORDERED that the defendant’s Motion for Excusable

Neglect [docket entry no. 240] is DENIED.
Case 5:03-cr-00024-DCB   Document 252   Filed 02/19/08   Page 3 of 3



SO ORDERED, this the       19th   day of February 2008.



                                      s/ David Bramlette
                                   UNITED STATES DISTRICT JUDGE
